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 4   e-mail: lawtorres@aol.com
 5   Attorney for Defendant
     HARJEET MANN
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                   IN THE UNITED STATES DISTRICT COURT
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                FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                            Case No.: 08-CR-0212 OWW
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                                   PLAINTIFF,
14                                                        STIPULATION AND ORDER TO
                                                          CONTINUE SENTENCING
15                                                        HEARING
16   HARJEET MANN,
17                                 DEFENDANT.
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19   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE: OLIVER
20   W. WANGER AND KAREN ESCOBAR, ASSISTANT UNITED STATES ATTORNEY:
21          COMES NOW Defendant, HARJEET MANN by and through his attorney
22   of record, DAVID A. TORRES hereby requesting that the sentencing hearing currently set for
23   November 16, 2009 be continued to December 14, 2009 at 9:00AM.
24          This is a mutual agreement between myself and Assistant United States Attorney, Karen
25   Escobar. As of the date of the filing of this motion, I am currently in a homicide trial which
26   commenced on October 13, 2009.
27          Based upon the foregoing, I respectfully request that this matter be continued to
28   December 14, 2009 at 9:00AM.
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 1            The parties also agree that the delay resulting from the continuance shall be excluded in
 2   the interest of justice pursuant to 18 U.S.C. §3161 (h)(7)(A) and §3161 (h)(7)(B)(I) & (iv).
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 4
 5   Dated: November 12, 2009                               /s/ David A. Torres
                                                            DAVID A. TORRES
 6                                                          Attorney for Defendant
                                                            HARJEET MANN
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 9   Dated: November 12, 2009                               By /s/ Karen Escobar
                                                            KAREN ESCOBER
10                                                          Assistant U.S. Attorney
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                                                        ORDER
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              IT IS SO ORDERED. Time is excluded in the interest of justice pursuant to 18 U.S.C.
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     §3161(h)(7)(A) and §3161 (h)(7)(B)(I) & (iv).
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26                                                                                IT IS SO ORDERED.
27   Dated:      November 12, 2009                          /s/ Oliver W. Wanger
28   Stipulation and Order to Continue Sentencing   2
               Case 1:08-cr-00212-AWI Document 242 Filed 11/12/09 Page 3 of 3


 1   emm0d6                                             UNITED STATES DISTRICT JUDGE
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28   Stipulation and Order to Continue Sentencing   3
